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        ROSEY LIU
    7
    8                             UNITED STATES DISTRICT COURT
    9                          CENTRAL DISTRICT OF CALIFORNIA
   10
   11   ROSEY LIU,                             )      CASE NO.: CV-07-05976 PSG (CWx)
                                               )
   12                           Plaintiffs,    )      PLAINTIFF’S STATEMENT                 OF
                                               )      GENUINE ISSUES
   13           vs.                            )
                                               )      Discovery Cut-Off: October 7, 2008
   14   STERIGENICS INTERNATIONAL)                    Motion Cut-Off:    November 7, 2008
        INC., a corporation, GRIFFITH)                Trial:             January 13, 2009
   15   MICRO SCIENCE, a corporation,)
        ION BEAM APPLICATIONS, a)
   16   c o r p o r a t i o n , K A T H L E E N)
        HOFFMAN, an individual, and)
   17   DOES 1 through 10, Inclusive,          )
                                               )
   18                           Defendants.    )
                                               )
   19
   20
              TO ALL PARTIES AND TO THEIR ATTORNEY(S) OF RECORD:
   21
              Plaintiff Rosey Liu submits this Statement of Genuine Issues pursuant to
   22
        Central District of California Local Rule 56-2 in opposition to Defendant’s Motion
   23
        for Summary Judgment. Fact Nos. 1-53 correspond to the facts and supporting
   24
        evidence presented in the Statement of Uncontroverted Facts filed by Defendant.
   25
        Fact Nos. 1-53 are followed by additional material facts and supporting evidence
   26
        showing a genuine issue.
   27
   28

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                                  PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1      MOVING PARTY’S ALLEGED                            PLAINTIFF’S RESPONSES
    2      UNCONTROVERTED FACTS
        1.  Sterigenics, is an international            1. Undisputed.
    3
            provider of sterilization services
    4       for the medical and foodstuff
    5       industries, with its headquarters in
            Oak Brook, Illinois.
    6
            Declaration of Kathleen Hoffman
    7       (“Hoffman Decl.”) in Support of
    8       Defendant’s Motion for Summary
            Judgment, ¶¶ 1-2.
    9
        2.   Plaintiff is a female of Chinese           2. Undisputed.
   10        national origin.
   11        Deposition of Rosey Liu (“Liu
   12        Depo”), at 245:18-23; 47:23-24;
             true and correct copies of the Liu
   13        deposition transcript and exhibits
   14       are appended to the Declaration
   15         of Ian T. Wade (“Wade
             Decl.”) at ¶ 5, Exh. 4.
   16
        3.    On or about March 17, 2000,               3. Undisputed.
   17
               Plaintiff interviewed for an
   18          engineer position at Griffith
   19          Micro Science, meeting with
               Kathleen Hoffman, the chief
   20
              decision maker in Plaintiff’s
   21          hiring, and several other Griffith
   22         employees during the interview
             process. Liu Depo., 51:22-53:10,
   23
             Exh. 1; Hoffman Decl. ¶ 3.
   24   4.    Since March 17, 2000, Griffith            4. Undisputed.
   25          changed its name to IBA S&I,
   26
               Inc., then Sterigenics EO, Inc.,
               and then merged into Sterigenics
   27         U.S., LLC. Hoffman Decl.¶ 4.
   28

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                               PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   5.    On April 19, 2000, Hoffman               5. Undisputed.
    2         extended Plaintiff an employment
    3         offer as Griffith’s Corporated
              Environmental Health and Safety
    4         (“EH&S”) Engineer, based in Los
    5         Angeles. Liu Depo., 64:7-65:2;
    6         65:22-66:1, Exh.             3.
        6.    Plaintiff accepted the offer on          6. Undisputed.
    7
              April 24, 2000. Liu Depo., 66: 14-
    8         17, Exh. 3.
    9   7.    No one at Serigenics or its              7. Plaintiff does not oppose Defendant’s
   10         predecessors ever promised               motion on the Fifth cause of action for
              Plaintiff that her employment            Breach of Covenant of Good Faith and
   11         would be for a specific term, that       Fair Dealing.
   12         she would be terminated only for
   13         cause, nor did anyone ever discuss
              job security during the interview.
   14          Liu Depo., 63:6-17; 68:15-69:20;
   15          70:3-18; 70:20-72:7; Exhs. 4&5.
   16   8.    Sterigenics’ at-will employment          8. Plaintiff does not oppose Defendant’s
              policy is clearly reflected in its       motion on the Fifth cause of action for
   17
              Employment Handbook, which               Breach of Covenant of Good Faith and
   18         Plaintiff acknowledged receiving         Fair Dealing.
   19         on more than on occasion.
               Liu Depo., 67:7-68:25; 72:13-
   20
        74:4, Exh.4-6.
   21   9.    The handbook states in pertinent         9. Plaintiff does not oppose Defendant’s
   22         part: “[E]mployment with                 motion on the Fifth cause of action for
   23         Sterigenics is not for any               Breach of Covenant of Good Faith and
              specified period and may be              Fair Dealing.
   24         terminated by the employee or the
   25         company at any time, with or
   26
              without cause or advance notice.”
               Liu Depo, Exh. 6, pg. 7.
   27
   28

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                              PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   10.   Indeed, Plaintiff admits that she        10.Plaintiff does not oppose Defendant’s
    2         was not given any assurances of          motion on the Fifth cause of action for
    3         continued employment and admits          Breach of Covenant of Good Faith and
              that she was an at-will employee         Fair Dealing.
    4         and her employment could be
    5         terminated at any time with our
    6         without cause.
               Liu Depo., 63:6-17, 68:6-25,
    7   69:16-20,70:2-18, 72:4-7; 74:18-75:7.
    8   11. Plaintiff admits that she does not         11. Plaintiff does not oppose
    9         have any agreement with                  Defendant’s motion on the Fifth cause
              Sterigenics that Sterigenics did         of action for Breach of Covenant of
   10
              not comply with.                         Good Faith and Fair Dealing.
   11         Liu Depo., 249:6-24.
   12   12. Indeed, in her response to                 12. Plaintiff does not oppose
   13         Defendant’s request for admission        Defendant’s motion on the Fifth cause
              she admits that her contract claim       of action for Breach of Covenant of
   14         rests solely on her belief that          Good Faith and Fair Dealing.
   15         “[t]he contract Plaintiff signed
   16         contained an implied covenant of
              good faith and fair dealing.”
   17          See Plaintiff’s Responses to
   18          Defendant’s Request for
   19
        Admissions, attached to Wade Decl. at ¶
        3, Exh. 2, Request No. 11.
   20
        13. As a corporate EH&S Engineer,              13. Undisputed.
   21         Plaintiff was responsible for
   22         providing EH&S support to
              Defendant’s plants and facilities
   23
              to ensure compliance with EH&S
   24         standards.
   25         Liu Depo., 94:14-21.
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                              PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   14.   As a corporate EH&S Engineer,            14. Undisputed.
    2         Plaintiff was responsible for
    3         proactively addressing EH&S
              needs at plants (including the
    4         continuous improvement of
    5         existing EH&S-related procedures
    6         and programs)
               Liu Depo., 92:3-19.
    7
        15.   As a corporate EH&S Engineer,            15. Undisputed.
    8         Plaintiff was responsible for
    9         completing all necessary EH&S-
              related reports.
   10
               Liu Depo., 91:7-15.
   11   16.   As a corporate EH&S Engineer,            16. Undisputed.
   12         Plaintiff was responsible for
   13         establishing applicable EH&S
              procedures for plaints and
   14         oversaw testing and plants.
   15          Liu Depo., 95:22-24.
   16   17.   As a corporate EH&S Engineer,            17. Undisputed.
              Plaintiff was responsible for
   17
              establishing regular contact with
   18         the plants through annual plants
   19         visits and monthly calls.
               Liu Depo., 94:22-95:17.
   20
        18.   It is undisputed that Hoffman,           18. Undisputed.
   21         Plaintiff’s direct supervisor, was
   22         highly critical of Plaintiff
   23         throughout Plaintiff’s
              employment with Sterigenics.
   24          Liu Depo., 250:16-251:12.
   25
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                              PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   19.     In Plaintiff’s 2002 Performance   19. Undisputed.
    2           Review, Hoffman gave her a score
    3           of 2.2 out of 4.0 (“meets
                expectations”), and stated that
    4           Plaintiff needed more enthusiasm
    5           and initiative with the plants in
    6           order to become a larger EH&S
                resource to the company.
    7            Liu Depo., 159:21-161:6; Exh. 9.
    8   20. In Plaintiff’s 2003 Performance       20. Undisputed.
    9   Review, Hoffman gave Plaintiff a score
        of 2.1 out of 4.0 (“meets expectations”)
   10
        and urged Plaintiff to continue building
   11   relationships to become an integrated
   12    EH&S resource; communicate more
        with plant management, upper
   13
        management, and peers; learn more
   14   about operations and emission control
   15   systems; and demonstrate greater
        initiative in leading projects and
   16
        company programs.
   17          Liu Depo., 163:25-164:16; 165:7-
   18   166:15; Exh. 10.
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                             PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   21.   Plaintiff’s 2005 Performance         21. Undisputed.
    2         Review began to reveal mor
    3         profound performance
              deficiencies. Plaintiff received a
    4         score of 2.9 out of 5.0 (only two-
    5         tenths of a point above the
    6         minimum score for “meets
              expectations”), and Hoffman
    7         criticized Plaintiff for a multitude
    8         of inadequacies, including
    9         Plaintiff’s failure to be more
              proactive in identifying potential
   10         issues and improving existing
   11         procedures and programs, and her
   12
              failure to adequately communicate
              potential compliance issues.
   13          Liu Depo., 175:16-25; 177:25-
   14   178:20; 180:20-181:16; 185:1-15; Exh.
   15
        11.
        22. Plaintiff admits that during her       22. Undisputed.
   16
              entire employment at Sterigenics,
   17         the highest score she ever
   18         received was just a “meets
              expectations.”
   19
               Liu Dpeo., 185:24-186:6.
   20
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                              PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   23.   In March 2006, Plaintiff sought to       23. Disputed. Plaintiff testified that she
    2         have her title changed from              was terminated because she wanted to
    3         Environmental Health and Safety          be promoted, not merely a “title change”
              Engineer to Senior Environmental         asked to be promoted into the position
    4         Health and Safety Engineer.              of a “Director” or a “Senior Engineer.”
    5         Liu Depo. 217:25-218:23.                 Deposition of Plaintiff Rosey Liu (“Liu
    6                                                  Depo”), 217:9-12, attached as Exhibit C
                                                       to the Declaration of Laurel Hyde
    7                                                  (“Hyde Decl.”). Declaration of Plaintiff
    8                                                  Rosey Lue (“Plaintiff Decl.”), ¶ 25.
    9                                                  Kathleen Hoffman also testified that
                                                       Rosey Liu asked for a promotion to the
   10                                                  position of “Director” or “Senior
   11                                                  Engineer.” Deposition of Kathleen
   12
                                                       Hoffman (“Hoffman depo.”), 94:1-5,
                                                       attached as Exhibit B to Hyde Decl.
   13
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                              PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   24.   Plaintiff testified that she was not       24. Disputed. Plaintiff testified that she
    2         sure whether that title really             was aware that there were Senior
    3         existed.                                   Engineers. Plaintiff depo., 219:12-14
                                                         and 21-23. Kathleen Hoffman and
    4         Liu Depo., 218:6-219-22.                   Sterigenics created the title of Senior
    5                                                    Director of EH&S for new hire Arlene
    6                                                    Farrar, a title which had not existed
                                                         previously. Sterigenics also created the
    7                                                    title of Director of Safety, a title and
    8                                                    position which also did not exist
    9                                                    previously. Currently, on the website for
                                                         Sterigenics, Eric Beers is listed in the
   10                                                    position of Senior Vice President of
   11                                                    Engineering; Mike Padilla is listed in
   12
                                                         the position of Senior Consultant; and
                                                         James Williams is listed in the position
   13                                                    of CFO and Senior Vice President of
   14                                                    Finance and Administration. These
   15
                                                         titles show that Sterigenics has
                                                         established practice of creating titles and
   16                                                    positions, and also to routinely add the
   17                                                    phrase “Senior” to titles. Plaintiff Decl.,
   18
                                                         ¶ 27.
        25.   Plaintiff also acknowledges that           25. Undisputed.
   19
              the time of her request, no one
   20         had ever held the position of
   21         Senior EH&S Engineer.
              Liu Depo., 219:12-18.
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                               PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   26.   Here, Plaintiff has identified her         26. Disputed. Plaintiff testified that she
    2         request for a title change as the          was terminated because she wanted to
    3         only basis for her retaliation             be promoted. Plaintiff depo, 217:9-12
              claim.                                     and 21-23. Plaintiff also testified that all
    4          Liu Depo., 217:9-23.                      of her reasons were set forth in her
    5                                                    Complaint, which she signed off on.
    6                                                    Plaintiff depo, 223:6-9. Plaintiff further
                                                         asserts that she was terminated because
    7                                                    she said that she was being treated
    8                                                    unfairly with respect to her white male
    9                                                    counterpart. Plaintiff Decl., ¶ 26.
        27.   Following Plaintiff’s 2005                 27. Undisputed.
   10
              Performance Review, Hoffman
   11         held an in-person performance
   12         counseling session with Plaintiff
              on July 25, 2006.
   13
               Liu Depo., 113:5-10, 186:9-
   14   187:3, Exh. 12.
   15   28. In a memorandum documenting                  28. Undisputed as to date of meeting and
   16         the July 25, 2006, meeting,                memorandum. Plaintiff’s Performance
              Hoffman set forth specific areas           Evaluations for the years 2000, 2002,
   17         of deficient performance where             2003, 2005 (the years which are
   18         additional focus and attention             available) each rate her in the category
   19
              were needed to meet Sterigenics’           of “Meets Expectations,” and did
              corporate safety standards.                include a even a single score of “Below
   20          Liu Depo., 186:9-21; Exh. 12.             Expectations.” Plaintiff’s Decl., ¶¶ 6-10.
   21                                                    Plaintiff never received a Performance
   22
                                                         Evaluation which rated her as “Meets
                                                         Some Expectations,” much less “Below
   23                                                    Expectations.” Plaintiff’s Decl., ¶¶ 6-
   24                                                    10.
   25   29.   Plaintiff does not dispute that she        29. Disputed. Plaintiff testified that she
              missed a radiation safety call, on         notified Kathleen Hoffman that she was
   26
              of the reasons for which she was           approximately one-half hour late
   27         counseled at that time.                    because she had to take her child to the
   28         Liu Depo., 97:10-18.                       doctor. Plaintiff depo, 189:17-190:19.

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                               PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   30.   During the meeting, Hoffman also           30. Disputed. Plaintiff testified exactly
    2         counseled Plaintiff regarding              the opposite. Plaintiff testified that
    3         Plaintiff’s failure to adequately          Hoffman did not raise the tardiness issue
              communicate to Hoffman                     with her at the time. Plaintiff depo.,
    4         regarding a flow meter that was            98:7-10. Plaintiff further testified that
    5         not working and Plaintiff’s failure        Ms. Hoffman told her that she did not
    6         to keep set office hours and               care about her hours, as long as all of the
              communicate deviations to                  work was finished. Plaintiff depo.,
    7         management.                                195:16-20.
    8          Liu Depo., 191:3-9, 195:3-15.
    9   31. In the memo and at other times               31. Undisputed.
              Plaintiff was warned that she had
   10
              failed to take proactive steps to
   11         complete her job and keep others
   12         informed about compliance and
              safety standards.
   13
               Liu Depo., 98:12-16; 99:1-
   14   100:14; 106:16-25; 110:1-20;
   15   111:2-8; Exh. 12.
   16   32. Undisputedtedly, Plaintiff was not           32. Disputed. Plaintiff testified that she
              perceived as being proactive by            was not a very aggressive person and, as
   17         others at Sterigenics.                     a result, unless she reported on each
   18          Liu Depo., 169:4-24.                      particular assignment, people had the
   19
                                                         “misconception that [she] didn’t do her
                                                         job.” Plaintiff depo, 169:13-18.
   20
        33.   In the memo Plaintiff was warned           33. Undisputed.
   21         that she had failed to react to
   22         EH&S Managements requests.
               Liu Depo., 186:9-21; 193:7-14;
   23
        Exh. 12.
   24   34. In the memo Plaintiff was warned             34. Undisputed.
   25         that she had failed to timely
   26
              complete and submit
              environmental reports.
   27          Liu Depo., 186:9-21; Exh. 12.
   28

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                              PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   35.   In the memo Plaintiff was warned           35. Disputed. This deposition cite only
    2         that she had failed to keep regular        affirms that Plaintiff received the memo.
    3         office hours.                              Moreover, Plaintiff testified that
              Liu Depo., 186:9-21; Exh. 12.              Hoffman did not raise the tardiness issue
    4                                                    with her at the time. Plaintiff depo.,
    5                                                    98:7-10. Plaintiff further testified that
    6                                                    Ms. Hoffman told her that she did not
                                                         care about her hours, as long as all of the
    7                                                    work was finished. Plaintiff depo.,
    8                                                    195:16-20.
    9   36.   In the memo, Hoffman also                  36. Undisputed.
              warned Plaintiff that failure to
   10
              meet or comply with the memo
   11         could result in further discipline,
   12         including dismissal.
              Liu Depo., 186:9-21; Exh. 12.
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                               PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   37.   Despite the counseling, Hoffman          37. Disputed. Doing the time when
    2         saw not improvement in                   Defendant contends Plaintiff’s
    3         Plaintiff’s performance over the         performance was inadequate, Plaintiff
              next few months.                         continued to receive glowing
    4         Hoffman Decl. At ¶ 7.                    compliments, including form Hoffman.
    5                                                  On October 18, 2005, Hoffman wrote an
    6                                                  email to Plaintiff which exclaimed:
                                                       “Good Work Rosey!” Exhibit E [Liu 10]
    7                                                  to Plaintiff’s Decl. On June May 3,
    8                                                  2006, Hoffman, again, singled out
    9                                                  Plaintiff to give her thanks for a job well
                                                       done, this time for FWI procedures for
   10                                                  handling products that may involve
   11                                                  bloodborne pathogens. Exhibit F [Liu 7]
   12
                                                       to Plaintiff’s Decl. On June 22, 2006,
                                                       Mike Bula, Vice President,
   13                                                  complimented Plaintiff for her
   14                                                  “professional” and “well done” safety
   15
                                                       training program and recommended it be
                                                       utilized as “the standard for new safety
   16                                                  training programs going forward.”
   17                                                  Exhibit G [Liu 9] to Plaintiff’s Decl.
   18
        38.   Hoffman made the decision to             38. Disputed. Kathleen Hoffman
   19
              terminate Plaintiff’s employment,        testified that termination must be
   20         and terminated Plaintiff on              reviewed and authorized by Cory, who
   21         October 23, 2006.                        is General Counsel, as well as Human
              Hoffman Decl. At ¶ 8.                    Resources. Hoffman depo, 3:12-14,
   22
                                                       46:24-47:3 and 98:24-99:5.
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                              PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   39.   Hoffman’s decision was based              39. Disputed.
    2         upon the following series of                 The dramatic, night and day
    3         events which she perceived as             difference in Hoffman’s prior
              Plaintiff’s performance issues:           consistent evaluation of Plaintiff’s
    4          • Plaintiff’s 2004 performance           work performance as “Meets
    5            review expressed the need for          Expectation” is evidence which raises
    6            Plaintiff to be more proactive         a triable issue of material fact that
                 in terms of safety; she failed.        Sterigenics’ discipline and subsequent
    7          • Plaintiff’s 2005 performance           termination of her was pretextual.
    8            review demonstrated that her           Plaintiff consistently received
    9            EH&S performance was                   favorable “Meets Expectations”
                 declining and needed                   performance evaluations, not “Meets
   10            improvement and she needed to          Some Expectations” nor “Below
   11            improve in safety and                  Expectations” each year she received
   12
                 environmental compliance;              a performance evaluation. Plaintiff
                 again, she failed.                     raised a triable issue of material fact
   13          • In July 2006, Plaintiff was            that Defendant’s rationale for her
   14            counseled for insubordination          termination was false and pretextual
   15
                 during a meeting. Plaintiff was        based on the content of her 2005
                 provided a memo documenting            Performance Evaluation because it
   16            her problems; Plaintiff’s              was issued just two days after she was
   17            performance still failed to            threatened for termination based upon
   18
                 improve.                               her 2005 Performance Evaluation, and
               • Following this meeting, the LA         rated Plaintiff as “Meets Expectations.
   19            facility continued to suffer           Exhibit D to Plaintiff’s Decl.
   20            from safety violations which           Plaintiff’s 2005 Performance
   21
                 should have been handled by            Evaluation does not negatively
                 Plaintiff; she did not.                evaluate Plaintiff, and contradicts any
   22          • Thereafter, Plaintiff attempted        justification for her termination,
   23            to circumvent company                  because it evaluates her as “Meets
   24
                 standards and ignore catalytic         Expectations,” not “Meets Some
                 oxidizer test results which            Expectations” and not “Blow
   25            demonstrated the machine was           Expectations.”
   26            not operation correctly and
   27
                 subsequently failed to notify
                 proper personnel of the
   28            problem.
               • Plaintiff failed to inform
                                                   14

                              PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1        • During the fall of 2006,                     Plaintiff has shown that Defendant's
    2           Plaintiff inexcusably failed to          rationale for her termination of not being
    3           notify management that the               proactive were false and pretextual
                machine that tests air safety for        because Hoffman regularly
    4           the entire Los Angeles plant             complimented her for being proactive
    5           was down for several days.               during 2005 and 2006. On October 18,
    6        • Thereafter, Plaintiff repeatedly          2005, Hoffman wrote an email to
                failed to comply with company            Plaintiff which exclaimed: "Good Work
    7           reporting requirements and               Rosey!" Exhibt E [Liu 10] to Plaintiff's
    8           time lines.                              Decl. Hoffman further requested
    9       Hoffman Decl. at ¶ 8.                        Plaintiff publish it so that others could
                                                         benefit from Plaintiff's analysis.
   10                                                    On June May 3, 2006, Hoffman, again,
   11                                                    singled out Plaintiff to give her thanks
   12
                                                         for a job well done, this time for FWI
                                                         procedures for handling products that
   13                                                    may involve bloodborne pathogens.
   14                                                    Exhibit F [Liu 7] to Plaintiff's Decl.
   15
                                                         On June 22, 2006, Mike Bula, Vice
                                                         President, complimented Plaintiff for her
   16                                                    "professional" and "well done" safety
   17                                                    training program and recommended it be
   18
                                                         utilized as "the standard for new safety
                                                         training programs going forward."
   19                                                    Exhibit G [Liu 9] to Plaintiff's Decl.
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                              PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   40. Plaintiff’s own deposition                  40. Disputed. Plaintiff also testified that
    2       testimony confirms that she lacks           all of her reasons were set forth in her
    3       any facts supporting a belief that          Complaint, which she signed off on.
            either her national origin or gender        Plaintiff depo, 223:6-9 Plaintiff testified
    4       motivated the decision to terminate         that she was terminated because she was
    5       her employment.                             the only Chinese in the department.
    6       Liu Depo., 244:15-247:1.                    Plaintiff depo, 243:20 and 244:11.
                                                        Plaintiff testified that she was
    7                                                   terminated because she wanted to be
    8                                                   promoted. Plaintiff depo, 217:9-12 and
    9                                                   21-23. Plaintiff testified that she was
                                                        terminated because she was female.
   10                                                   Plaintiff depo, 245:24-22. Plaintiff
   11                                                   further asserts that she was terminated
   12
                                                        because she said that she was being
                                                        treated unfairly with respect to her white
   13                                                   male counterpart. Plaintiff Decl., ¶ 26.
   14   41. Plaintiff admits that there is              41. Disputed. Plaintiff testified that she
   15   nothing she can point to that causes her        was wrongfully terminated because she
        to believe that Sterigenics made                was a Chinese national. Plaintiff depo,
   16
        employment decisions that were                  243:20 and 244:11.
   17   motivated on account of the fact
   18   that she is a Chinese national.
              Liu Depo., 244:15-247:1.
   19
        42. Plaintiff admits that she does not            42. Disputed. Plaintiff testified that
   20        know any facts to cause her to             she was terminated because she was
   21        believe that Sterigenics made              female. Plaintiff depo, 245:24-22.
   22
             employment decisions on account            Plaintiff testified that “no one at
             of the fact that she is female as          Sterigenics caused her to believe that
   23        opposed to male.                           what the reason.” Plaintiff depo, 245:24-
   24         Liu Depo., 245:18-246:11.                 22.
   25
                                                        Plaintiff testified that she was
                                                        wrongfully terminated because she was
   26                                                   a Chinese national. Plaintiff depo,
   27                                                   243:20 and 244:11.
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                              PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   43. Plaintiff admits that she has no                43. Disputed. Plaintiff testified that
    2   facts to support a belief that either her        all of her reasons were set forth in her
    3   national origin or her sex motivated the         Complaint, which she signed off on.
        decision to terminate her employment.            Plaintiff depo, 223:6-9. Plaintiff testified
    4         Liu Depo., 246:22-247:1                    that she was terminated because she was
    5                                                    the only Chinese in the department.
    6                                                    Plaintiff depo, 243:20 and 244:11.
                                                         Plaintiff testified that she was
    7                                                    terminated because she wanted to be
    8                                                    promoted. Plaintiff depo, 217:9-12 and
    9                                                    21-23. Plaintiff testified that she was
                                                         terminated because she was female.
   10                                                    Plaintiff depo, 245:24-22. Plaintiff
   11                                                    further asserts that she was terminated
   12
                                                         because she said that she was being
                                                         treated unfairly with respect to her white
   13                                                    male counterpart. Plaintiff Decl., ¶ 26.
   14   44. Plaintiff also concedes that                 44. Disputed. In March 2006, Plaintiff
   15       Hoffman neither said nor did                 Rosey Liu asked her supervisor
            anything which caused Plaintiff to           Kathleen Hoffman for a promotion to
   16
            believe her termination was due to           the position of “Director” or “Senior
   17       something other than her failure to          Engineer.” Hoffman depo., 94:1-5.
   18       be proactive with safety.                    During the same conversation, her
             Liu Depo., 212:21-213:5.                    manager, Defendant Kathleen Hoffman
   19
                                                         patronizingly attempted to talk her out
   20                                                    of it by telling Plaintiff that she should
   21                                                    not focus on her work and just focus on
                                                         her family, thereby invoking stereotypes
   22
                                                         of Asian women being subservient,
   23                                                    quiet, docile and maternal. Plaintiff
   24                                                    Decl., ¶¶ 25-26.
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                               PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   45. In her response to Defendant’s                 45. Disputed. Plaintiff testified that all
    2        Special Interrogatories, Plaintiff            of her reasons were set forth in her
    3        could not provide any specific facts          Complaint, which she signed off on.
             or allegations to support her belief          Plaintiff depo, 223:6-9. Moreover, the
    4        that she was discriminated against            allegations contain specific facts.
    5        on the basis of her national origin or
    6        gender. Instead, Plaintiff speculates
             that because she did not receive a
    7        “promotion” and because she was
    8        criticized for poor work
    9        performance, that she must have
             been wronged, stating:
   10        “Plaintiff concludes that
   11   Defendants did not wish to promote a
   12
        person of her gender and/or national
        origin, and did not wish to promote an
   13   employee who protested against unfair
   14   treatment.”
   15
              See Plaintiff’s Responses to
        Defendant’s Special Interrogatories,
   16   attached to Wade Decl. at ¶ 4, Exh.3,
   17   Special Rog. Nos. 15- 18.
   18   46. In this case, six and a half years             46. Undisputed.
             passed between Hoffman’s April
   19
             2000 employment offer to Plaintiff
   20        and her October 2006 termination.
   21         Liu Depo., 64:7-65:2, 65:22-66:1,
        202:2- 10; Exhs. 3.
   22
        47. Hoffman was responsible for                    47. Disputed. Kathleen Hoffman
   23        recruiting and hiring Plaintiff, and          testified that termination must be
   24        terminating her.                              reviewed and authorized by Cory, who
   25
              Hoffman Decl. at ¶ 12; Liu Depo              is General Counsel, as well as Human
        64:7-65:14, 202:2-203:20.                          Resources. Hoffman depo, 3:12-14,
   26                                                      46:24-47:3 and 98:24-99:5 re signed off
   27                                                      on the termination.
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                               PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   48. Following Plaintiff’s termination,            48. Undisputed.
    2       Hoffman eventually hired
    3       Gwendolyn Howard, another non-
            Caucasian (African-American)
    4       female, to fill Plaintiff’s position.
    5        Hoffman Decl. at ¶ 11.
    6   49. In fact, she admitted that she did not49. Disputed. Plaintiff testified that she
            know whether anybody at               was terminated because she wanted to
    7
            Sterigenics was ever treated more     be promoted. Plaintiff depo, 217:9-12
    8       favorably than herself.               and 21-23. Plaintiff also testified that all
    9        Liu Depo., 257:16-19.                of her reasons were set forth in her
                                                  Complaint, which she signed off on.
   10
                                                  Plaintiff depo, 223:6-9. Plaintiff further
   11                                             asserts that she was terminated because
   12                                             she said that she was being treated
                                                  unfairly with respect to her white male
   13
                                                  counterpart. Plaintiff Decl., ¶ 26.
   14   50. Plaintiff acknowledges that she has 50. Disputed. Plaintiff testified that she
   15       no reason to believe that anybody at was terminated because she wanted to
   16       Sterigenics ever tried to deceive her be promoted. Plaintiff depo, 217:9-12
            or acted in a malicious manner        and 21-23. Plaintiff also testified that all
   17       towards her.                          of her reasons were set forth in her
   18        Liu Depo., 251:20-252:14.            Complaint, which she signed off on.
   19
                                                  Plaintiff depo, 223:6-9. Plaintiff further
                                                  asserts that she was terminated because
   20                                             she said that she was being treated
   21                                             unfairly with respect to her white male
   22
                                                  counterpart. Plaintiff Decl., ¶ 26.

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                               PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   51. Sterigenics maintains numerous            51. Undisputed.
    2       anti-discrimination and anti-
    3       harassment policies and procedures
            which discuss how to prevent and
    4       how to respond to complaints of
    5       discrimination or harassment.
    6        Hoffman decl. at ¶ 9; Liu Depo,
        Exhs. 6, pgs. 10, 14, 30, &34.
    7
        52. These policies and procedures are         52. Undisputed.
    8       provided to all Sterigenics
    9       employees.
             Hoffman Decl. at ¶ 10.
   10
        53. Plaintiff admits in her deposition        53. Disputed. Plaintiff also testified that
   11       that she was aware of Sterigenics’        all of her reasons were set forth in her
   12       policies, yet never complained to
            anyone at Sterigenics about any           Complaint, which she signed off on,
   13
            form of discrimination.                   reasons which include her retaliatory
   14       Liu Depo., 75:12-21; 78:25-79:8.          termination was in reprisal for asking
   15
                                                      Ms. Hoffman for a promotion. Plaintiff
   16
                                                      depo, depo, 217:9-12 and 21-23 and
   17
                                                      223:6-9. Plaintiff further asserts that she
   18
                                                      was terminated because she told
   19
                                                      Kathleen Hoffman that she was being
   20
                                                      treated “unfairly” with respect to her
   21
                                                      white male counterpart. Plaintiff Decl.,
   22
                                                      ¶ 26.
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                             PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1                         PLAINTIFF’S ADDITIONAL FACTS
    2      Plaintiff also contends that the following material facts are in dispute:
    3 PLAINTIFF’S ADDITIONAL FACTS SUPPORTING EVIDENCE
    4 1. Plaintiff testified that she was 1. Deposition of Plaintiff Rosey Liu
    5   terminated because she wanted to be         (“Liu Depo”), 217:9-12, attached as
    6   promoted, not merely a “title change”       Exhibit C to the Declaration of Laurel
    7   asked to be promoted into the position of Hyde (“Hyde Decl.”). Declaration of
    8   a “Director” or a “Senior Engineer.”        Plaintiff Rosey Lue (“Plaintiff Decl.”), ¶
    9                                               25.
   10   2. Kathleen Hoffman also testified that     2. Depositon of Kathleen Hoffman
   11   Rosey Liu asked for a promotion to the      (“Hoffman depo.”), 94:1-5, attached as
   12   position of “Director” or “Senior           Exhibit B to Hyde Decl
   13 Engineer.”.
   14 3. Plaintiff testified that she was aware     3. Plaintiff depo., 219:12-14 and 21-23.
   15 that there were Senior Engineers.
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                               PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   4. Kathleen Hoffman and Sterigenics           4. Plaintiff Decl., ¶ 27.
    2   created the title of Senior Director of
    3   EH&S for new hire Arlene Farrar, a title
    4   which had not existed previously.
    5   Sterigenics also created the title of
    6   Director of Safety, a title and position
    7   which also did not exist previously.
    8   Currently, on the website for Sterigenics,
    9   Eric Beers is listed in the position of
   10   Senior Vice President of Engineering;
   11   Mike Padilla is listed in the position of
   12   Senior Consultant; and James Williams
   13   is listed in the position of CFO and
   14   Senior Vice President of Finance and
   15   Administration. These titles show that
   16   Sterigenics has established practice of
   17   creating titles and positions, and also to
   18   routinely add the phrase “Senior” to
   19 titles.
   20 4. Plaintiff testified that she was             4. Plaintiff depo, 217:9-12 and 21-23.
   21   terminated because she wanted to be
   22 promoted.
   23 5. Plaintiff also testified that all of her     5. Plaintiff depo, 223:6-9.
   24   reasons were set forth in her Complaint,
   25   which she signed off on.
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                                 PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   6. Plaintiff further asserts that she was     6. Plaintiff Decl., ¶ 26.
    2   terminated because she said that she was
    3   being treated unfairly with respect to her
    4 white male counterpart.
    5 7. Plaintiff’s Performance Evaluations          7. Plaintiff’s Decl., ¶¶ 6-10.
    6   for the years 2000, 2002, 2003, 2005
    7   (the years which are available) each rate
    8   her in the category of “Meets
    9   Expectations,” and did include a even a
   10 single score of “Below Expectations.”
   11 8. Plaintiff never received a Performance       8. Plaintiff’s Decl., ¶¶ 6-10.
   12   Evaluation which rated her as “Meets
   13   Some Expectations,” much less “Below
   14 Expectations.”
   15 9. Plaintiff testified that she notified        9. Plaintiff depo, 189:17-190:19.
   16 Kathleen Hoffman that she was
   17   approximately one-half hour late because
   18 she had to take her child to the doctor.
   19 10. Plaintiff testified exactly the        10. Plaintiff depo., 98:7-10

   20 opposite. Plaintiff testified that Hoffman
   21   did not raise the tardiness issue with her

   22   at the time.
        11. . Plaintiff further testified that Ms.    11. Plaintiff depo., 195:16-20.
   23
        Hoffman told her that she did not care
   24
        about her hours, as long as all of the
   25
        work was finished.
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                                 PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   12. Plaintiff testified that she was not a    12. Plaintiff depo, 169:13-18.
    2   very aggressive person and, as a result,
    3   unless she reported on each particular
    4   assignment, people had the
    5   “misconception that [she] didn’t do her
    6 job.”
    7 13. Plaintiff testified that Hoffman did        13. Plaintiff depo., 98:7-10.
    8   not raise the tardiness issue with her at
    9 the time.
   10 14.Plaintiff further testified that Ms.         14. Plaintiff depo., 195:16-20.
   11   Hoffman told her that she did not care
   12   about her hours, as long as all of the
   13 work was finished.
   14 15. Doing the time when Defendant               15. Exhibt E [Liu 10] to Plaintiff’s Decl.
   15 contends Plaintiff’s performance was
   16   inadequate, Plaintiff continued to receive
   17   glowing compliments, including form
   18   Hoffman. On October 18, 2005,
   19   Hoffman wrote an email to Plaintiff
   20 which exclaimed: “Good Work Rosey!”
   21 16. On June May 3, 2006, Hoffman,               16. Exhibit F [Liu 7] to Plaintiff’s Decl.

   22 again, singled out Plaintiff to give her
   23   thanks for a job well done, this time for

   24   FWI procedures for handling products

   25   that may involve bloodborne pathogens.

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                                PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   17. On June 22, 2006, Mike Bula, Vice        17. Exhibit G [Liu 9] to Plaintiff’s Decl.
    2   President, complimented Plaintiff for her
    3   “professional” and “well done” safety
    4   training program and recommended it be
    5   utilized as “the standard for new safety
    6 training programs going forward.”
    7 18. Kathleen Hoffman testified that            18. Hoffman depo, 3:12-14, 46:24-47:3
    8   termination must be reviewed and             and 98:24-99:5
    9   authorized by Cory, who is General
   10   Counsel, as well as Human Resources.
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                                PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   19. The dramatic, night and day               19. Exhibit D to Plaintiff’s Decl.
    2   difference in Hoffman’s prior consistent
    3   evaluation of Plaintiff’s work
    4   performance as “Meets Expectation” is
    5   evidence which raises a triable issue of
    6   material fact that Sterigenics’ discipline
    7   and subsequent termination of her was
    8   pretextual. Plaintiff consistently
    9   received favorable “Meets Expectations”
   10   performance evaluations, not “Meets
   11   Some Expectations” nor “Below
   12   Expectations” each year she received a
   13   performance evaluation. Plaintiff raised
   14   a triable issue of material fact that
   15   Defendant’s rationale for her termination
   16   was false and pretextual based on the
   17   content of her 2005 Performance
   18   Evaluation because it was issued just
   19   two days after she was threatened for
   20   termination based upon her 2005
   21   Performance Evaluation, and rated
   22   Plaintiff as “Meets Expectations” not
   23   “Meets Some Expectations” and not
   24   “Blow Expectations.”
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                                 PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1   20. Plaintiff has shown that Defendant's      20. Exhibt E [Liu 10] to Plaintiff's Decl.
    2   rationale for her termination of not being
    3   proactive were false and pretextual
    4   because Hoffman regularly
    5   complimented her for being proactive
    6   during 2005 and 2006. On October 18,
    7   2005, Hoffman wrote an email to
    8   Plaintiff which exclaimed: "Good Work
    9   Rosey!" Hoffman further requested
   10   Plaintiff publish it so that others could
   11 benefit from Plaintiff's analysis.
   12 21. On June May 3, 2006, Hoffman,               21. Exhibit F [Liu 7] to Plaintiff's Decl.
   13   again, singled out Plaintiff to give her
   14   thanks for a job well done, this time for
   15   FWI procedures for handling products
   16 that may involve bloodborne pathogens
   17 22. On June 22, 2006, Mike Bula, Vice           22. Exhibit G [Liu 9] to Plaintiff's Decl
   18   President, complimented Plaintiff for her
   19   "professional" and "well done" safety
   20   training program and recommended it be
   21   utilized as "the standard for new safety
   22 training programs going forward."
   23 23. Plaintiff testified that she was    23. Plaintiff depo, 243:20 and 244:11.
   24 wrongfully terminated because she was a
   25   Chinese national.
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                                 PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
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    1
        Dated: September 17, 2008       CHARLES T. MATHEWS & ASSOCIATES
    2
    3
    4
                                        By:_________________________________
    5                                         CHARLES T. MATHEWS
                                              LAUREL HYDE
    6                                         Attorney for Plaintiff
                                              ROSEY LIU
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                              PLAINTIFF’S STATEM ENT OF GENUINE ISSUES
